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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

TARGIN SIGN SYSTEMS, INC., an Illinois             )
corporation, individually and as the               )
representative of a class of similarly-situated    )
persons,                                           )
                                                   )
                               Plaintiff,          )    No. 09 CV 1266
                                                   )
               v.                                  )    Judge Virginia M. Kendall
                                                   )
XDATA SOLUTIONS, INC.,                             )
                                                   )
                               Defendant.          )

                 PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
               OF CLASS ACTION COMPLAINT WITHOUT PREJUDICE

       Plaintiff, TARGIN SIGN SYSTEMS, INC., hereby files a voluntary dismissal without

prejudice of the Class Action Complaint against Defendant, XDATA SOLUTIONS, INC. , as

allowed under Federal Rules of Civil Procedure 41(a)(1).

                                              Respectfully submitted,

                                              TARGIN SIGN SYSTEMS, INC., individually and
                                              as the representative of a class of similarly-situated
                                              persons


                                       By:    s/Brian J. Wanca
                                              One of Plaintiff’s Attorneys



Brian J. Wanca                                    Phillip A. Bock
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                               CERTIFICATE OF SERVICE

      I hereby certify that on March 16, 2009, I electronically filed this Notice of Voluntary
Dismissal of the Class Action Complaint with the Clerk of the Court using the CM/ECF system
which will send notification of such filing to the all attorneys of record.




                                            s/Brian J. Wanca
                                            Brian J. Wanca
                                            Attorney for Plaintiff




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